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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) CIVIL ACTION
Plaintiff, ;
v. ) 2-11-cv-03868-LS
AMANJEET KAUR, 5
Defendant,

AND NOW, comes Defendant, Amanjeet Kaur, through the undersigned counsel and
respectfully requests that the Plaintiff s Motion for Summary Judgement be dismissed. The Plaintiff,
U.S. Government, has requested the Court to revoke the naturalization of Mrs. Kaur based upon an
alleged asylum fraud by her husband. The Defendant has not been guilty of any wrongdoing in this
country. She is a law abiding loyal U.S. citizen and is entitled to have Plaintiff's Motion for
Summary Judgement dismissed.

It is disputed that she was never lawfully admitted for permanent residence. To the contrary
Ms. Kaur was lawfully admitted for permanent residence in accordance with Section 209 of the
Immigration & Nationality Act.

The Government has argued that Ms. Kaur’s lawful admission for permanent residence is
not valid. Their analysis is incorrect. Under INA Section 209(b) the U.S. CIS is authorized to adjust
status of any person who has been granted refugee status. 8 U.S.C. 1159(b). The requirements are
as follows... “the Attorney General...may adjust the status of an alien lawfully admitted for
permanent residence. The status of any alien granted asylum who

1) applies for adjustment,
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2) has been physically present in the United States for at least one year after having been

granted asylum,

3) continues to be a refugee within the meaning of 101(a)(42)(A) or a spouse or child

of such a refugee...

In this case Ms. Kaur was a refugee at the time of her adjustment. She was granted asylum
and entered in asylum status on July 23, 998. See Exhibit 1. Furthermore, her spouse, Sukhjit
Singh, was a refugee. They were both refugees. They were Sikhs from the province of Punjab in
India, At the time that Mr. Singh applied for asylum and permanent residence, there was great
persecution of members of the Sikh religion in Punjab, India. Therefore, not only was Mr. Singh a
refugee within the meaning of Section 101(a)(42)(A) but Ms. Kaur was also a refugee within the
meaning of the same statute. With Defendant’s Motion for Summary Judgement filed on August
16, 2013 voluminous documentation was given regarding the persecution of Sikhs in Punjab, India.
The Defendant respectfully requests through undersigned counsel that she be given an opportunity
to prove her case at trial, that she and her husband were refugees within the meaning of Section
101(a)(42) and, therefore, they were fully eligible to adjust status to permanent resident. The fact that
Mr. Singh may have embellished his application for asylum and even misstated his identity is not
dispositive of the issue of whether or not he was a legitimate refugee from India. Where there is a
well documented pattern and practice of persecution by the Government of the applicant’s home

country, the applicants qualify for asylum.’ Sukwantutura v. Gonzales, 434 F.3d 672 (3" Cir. 2006).

The applicant is entitled to present her case to the Court and it is the Court’s decision to decide

'See Exhibit 5 of Defendant’s Motion for Summary Judgement regarding persecution of
Sikhs in Punjab, India.
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whether or not Mr. Singh or Ms. Kaur were refugees within the meaning of Section 101(a)(42). The
Government has not met its burden of proof regarding its allegation that Ms. Kaur illegally procured
her naturalization. The Government has not offered any evidence whatsoever except that Mr. Singh
used two (2) identities and embellished his claim. The undersigned respectfully submits that the
Court may discount some parts of the claim but find that other parts of the claim are legitimate and
that a Defendant and her husband both did meet the definition of a refugee.

The Plaintiff, U.S. Government, in their Motion for Summary Judgement are asking this
Honorable Court to set aside the naturalization of Ms. Kaur and effectively strip her of her
citizenship. They ask the Court to do this based upon a technical analysis of the term “lawfully
admitted for permanent residence.” There is absolutely no precedent for the Government’s case.
Only in cases where the conduct of the person was contrary to the statutorily proscribed behavioral
requirements for citizenship and such behavior was intentionally concealed by the applicant at the
time of naturalization has it been held that citizenship was “illegally procured” under INA §340.
These cases include Nazi war criminals, communist party members, felony offenders, commission
of crimes of moral turpitude’, and failure to reside in the United States for the statutorily proscribed

period of § years prior to citizenship.” Ms. Kaur has engaged in no conduct which is offensive to the

*Crimes of Moral Turpitude Render an Alien Inadmissible Under INA 212(a)(2)(A).

See U.S. v. Freidrich, 402 F.3d 842 (8" Cir. 2005) where working as a guard in a Nazi
concentration camp sufficiently established that the petitioner persecuted others within the
meaning of Refugee Relief Act (the predecessor statute to the DPA) and concealment of such
conduct amounted to illegal procurement of citizenship; See also: U.S. v. Dailide, 316 F.3d 611,
618 (6" Cir. 2003) where a former member of the Lithuanian special unit who persecuted Jewish
civilians in that capacity illegally procured his citizenship. See also: Polities v. United States,
364 U.S. 426, 81 S.Ct. 202, 5 I..Ed.2d 173 (1960), the petitioner was a member of the
Communist Party of the United States and membership in such a party is a statutory bar to
citizenship pursuant to INA §313., membership in a communist party is deemed prima facia

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statutory requirements for citizenship. The Government, I am sure, would concede that the
Defendant is a legal permanent resident of the United States which is also a requirement for
naturalization. However, they seck to set her citizenship aside on the technical premise that she was
not lawfully admitted for permanent residence. This request is being made by the Plaintiff even
though the Defendant has not done anything wrong or unlawful. She did not do anything illegal
which would cause her to be de-naturalized. The basis of the Government’s request is an alleged
wrongdoing by her husband 20 years ago. They will not concede the fact that U.S. CIS had authority
to grant a waiver under INA Section 237(a)(1)(H). See also Matter of Fu, 23 I&N Dec. 985 (BIA
2006) where it was held that the above mentioned waiver authorizes a waiver of removability based
on visa fraud or willful misrepresentation of a material fact or the lack of a valid immigrant visa or
entry document. Therefore, since U.S. CIS granted the permanent residence and naturalization of
Ms. Kaur and her family members it is only logical that they applied this waiver especially in light
of the fact that they knew about Singh’s use of two (2) identities prior to her naturalization. See
Exhibit 2 of Mr. Singh Biometrics. However, the Government has not conceded this. They adhere
to their technical argument that Ms. Kaur should be stripped of her naturalization because she was
not lawfully admitted for permanent residence. The motive for this is sheer retaliation by the U.S.
Government. Ms. Kaur, whether a legal permanent resident or naturalized citizen, is eligible to
petition her husband under INA Section 204. The Court should not accept this technical argument
by the Plaintiff, U.S. Government. The Court should please accept the contentions of the Defendant

regarding her lawful admission for permanent residence or at the very least order a trial in this matter

evidence that the applicant is not attached to the principals of the U.S. Constitution and not well-
disposed to the good order and happiness of the United States at the time of naturalization. INA
§340(c).
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so that the Defendant may plead her case that she was lawfully admitted for permanent residence.

It is the Defendant’s contention that she was lawfully admitted for permanent residence and
that both she and Mr. Singh were refugees within the meaning of INA 101(a)(42)(A). Section 209
does not state that a person must have been legally granted asylum or refugee status. INA Section
209 and implementing regulations cited by the Government in their Brief clearly state that a person
must meet the definition of a refugee. A refugee is a person “who is outside any country of such
person’s nationality... and who is unable or unwilling to return to, and is unwilling or unable to avail
himself or herself of the protection, that country because of persecution or well founded fear of
persecution on account of..religion.” INA 101(a)(42). Under 8 C.F.R. 208.13(b)(2)(C)(iii)(A) the
applicant is eligible for asylum and is classifiable as a refugee if he can establish that there is a
pattern of practice in his or her country of nationality of...”persecution of a group of persons similarly
situated to the applicant on account of...religion...” It is uncontested that Mr. Singh is a Sikh and at
the time that he applied for asylum there was a pattern and practice of persecution in India. Ms. Kaur
testified that not only was there a pattern and practice existing in the country but that her husband
was singled out for persecution when, on two occasions, police came to the family’s home looking
for her husband. Exhibit 3 - (Kaur Deposition, Page 10, 20-25). Her testimony is uncontroverted
and she is worthy of belief.

It is true that Mr. Singh misrepresented his name. Please consider his plight. He was a
legitimate refugee from India. What he did was not justifiable. He should not have attempted to
short circuit the process through the Immigration Court. He could have appealed to a higher authority
and based on the pattern and practice doctrine as well as him being singled out, his application for

asylum likely would have been granted. However, taking into consideration the kind of pressure he
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was under, it is understandable that he may have acted rashly. He had come from a country where
he was being persecuted. His family was left behind including his children. There was mass
executions of Sikhs in India at that time. Please consider the plight of Sikhs in India at that time.
His family may consider his actions to be self sacrificing and even heroic.

The Government in their Brief has misstated several facts. In their Memorandum of Law
background on Page 2 it is stated “Singh alleged to have been persecuted in India even though he
was living in the United States during the alleged persecution. “They reference Exhibit 4. There is
nothing in Exhibit 4 or anywhere else in the record to corroborate this fact. In the next paragraph
on Page 2 of their Memorandum they indicate that “the Government officer who approved the
application was not aware that Singh had already sought asylum unsuccessfully in another
jurisdiction, or that he had been placed in Deportation Proceedings in 1993. Id. Singh failed to
provide this information on his second asylum application, as he was required to do. The reference
to Exhibit 4 does not contain this information. It is not in the record. Therefore, the Government is
basing its case on information that is not in the record and has not been proven. The Motion for
Summary Judgement should not be granted based on facts that are not in the record. On Page 2 of
the Memorandum it is stated “after filing a form I-485, Application for Adjustment of Status, Kaur
was granted legal permanent residence (“LPR”) status on May 27, 2003...” It is agreed that Ms.
Kaur was granted legal permanent resident status on May 27, 2003. The admission by the
Government on Page 2 is correct and their Motion for Summary Judgement should be dismissed
because the applicant was granted legal permanent resident status based on the Government’s own
admission, On Page 3 of the Memorandum it is stated “when Singh applied for lawful permanent

resident status after Kaur naturalized... This is another misstatement of the facts. Mr. Singh applied
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for lawful permanent resident status long before Ms. Kaur naturalize. Mr. Singh applied in 1998 and
he was not interviewed until 2006. See Exhibit 4, Application to Adjust Status. His application sat
at INS/U.S. CIS for eight (8) years while the applications of his family members were all approved.
The Government was aware of the true identity of Singh prior of the grant of Ms. Kaur’s legal
permanent resident status and Ms. Kaur’s naturalization. Notwithstanding the fact that they were
aware of this double identity issue, the U.S. CIS still granted the legal permanent resident status of
Ms. Kaur and her subsequent naturalization. If the Government believed there was a fraud, it
executed a waiver, as permitted. On Page 3 it is stated “the next day, on July 3, 2008, U.S. CIS
denied Singh’s Application for Adjustment of Status. (Exhibit 4). Exhibit 4 is not a denial of the
Application for Permanent Residence. There is no indication of any denial of Singh’s Application
for Adjustment of Status in the Government’s moving papers. They have not met their burden.
The Government on Page 3 of their Memorandum then states that since Singh on June 26,
2008 filed an Application for Waiver of Grounds of Inadmissibility and admitted in his affidavit that
he used a double identity, that he was automatically not a refugee within the meaning of Section
101(a)(42) and, further, that Ms. Kaur, his wife, was not lawfully admitted for permanent residence.
The statements do not support the Government’s contention that Ms. Kaur was not lawfully admitted
for permanent residence. Mr. Singh, as previously stated, was a refugee and Ms. Kaur was granted
asylum for one (1) year prior to her Application for Permanent Residence and was the spouse of
someone who was a refugee within the meaning of 101(a)(42). This is all that is required for
adjustment of status under INA 209. Therefore, Ms. Kaur was eligible for the lawful admission for
permanent residence, and her lawful admission for permanent residence was properly granted.

The standard for de-naturalization is also misstated by the Government. The Government
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must establish by “clear and convincing” evidence that the naturalization was fraudulently or

unlawfully obtained. Fedorenko v. U.S., 449 U.S. 490, 505 (1985) quoting Costello v. U.S., 395

U.S. 265, 269 (1961). It is respectfully submitted that the de-naturalization standard as stated on
Page 4 of the Government’ s Memorandum of Law is not accurate. The Government in their Motion
for Summary Judgement has not established by clear and convincing evidence that the naturalization
should be set aside. Further there are many material issues of facts remaining in this case. INA
Section 209 doesn’t say that a person must not have committed misrepresentation when they were
granted asylum. Section 209 only requires that a person be a refugee within the meaning of
101(a)(42) in order to qualify for adjustment of status. Section 209 also includes the spouse of
someone who meets the definition of a refugee. The fact that Mr. Singh may have misrepresented
certain facts on his application for asylum status is not dispositive of whether or not he met the
definition of refugee. Furthermore, it has no bearing on whether or not Ms. Kaur met the definition
of refugee under the pattern and practice standard. These are material facts that need to be proven
at trial and it is, therefore, requested that the Motion for Summary Judgement of the Plaintiff be
dismissed.

CONCLUSION

The Plaintiff in this case has requested summary judgement based upon the proposition that
the Defendant, Ms. Kaur, obtained her naturalization illegally. There is not an indication in their
Brief that she committed any fraud or misrepresentation. The proposition that she obtained her
permanent residence illegally is that she was not lawfully admitted for permanent residence which
is a requirement for naturalization under INA Section 316(a). The Government failed to meet its

burden of “clear and convincing evidence” to prevail. Ms. Kaur was lawfully admitted for
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permanent residence under INA Section 209 and implementing regulations. She herself was a
refugee within the meaning of 101(a)(42) and, further, she was the spouse of a refugee under Section
101(a)(42). Additionally, the Government was aware of the alleged fraud committed by Mr. Singh
several years prior to her naturalization. Therefore, any alleged fraud was waived.

The facts which formed the basis of the Plaintiff's request for summary judgement are not
in the record and have, therefore, been misstated. There are material issues in the case that are
disputed and, therefore, the Motion for Summary Judgement should be dismissed.

Respectfully submitted,

08/30/2013 /s/John J. Hykel

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FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) CIVIL ACTION
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Plaintiff, )
v. ) 2-11-cv-03868-LS
)
AMANJEET KAUR, )
)
Defendant, )
ORDER
AND NOW, this day of , 20 upon consideration of

Defendant’s Motion for Summary Judgement and any responses thereto, it is ORDERED that the
Defendant’s Motion is granted and judgement is entered in favor of Defendant and against the
Plaintiff.

BY THE COURT:

/s/ Lawrence F. Stengel
LAWRENCE F. STENGEL, J.

